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                 United States District Court
             for the Southern District of Georgia
                      Waycross Division
 SEBRASKAN BROWN and COLUMBUS
 MIZELL, on behalf of
 themselves and all others
 similarly situated,
                                              CV 520-079
       Plaintiffs,

 v.

 PALLETONE OF FLORIDA, INC.
 d/b/a PalletOne, Inc.,

       Defendant.

                                 ORDER

      Before the Court is the parties’ stipulation of dismissal,

dkt. no. 13, wherein they notify the Court that they wish to

dismiss all claims asserted in this action with prejudice.           The

stipulation    complies   with   Federal    Rule   of   Civil   Procedure

41(a)(1)(A)(ii).     Accordingly, all claims asserted in this action

are DISMISSED with prejudice.     Each party shall bear its own fees

and costs.    The Clerk is DIRECTED to close this case.


      SO ORDERED, this 31st day of December, 2020.




                                         HON. LISA GODBEY WOOD, JUDGE
                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF GEORGIA
